        Case 1:19-cr-20273-JEM Document 73 Entered on FLSD Docket 09/28/2021 Page 1 of 1

                                              M IN UTE O RDER                                                page;
                                         M agistrate Judge Laureh F.Louis
                     AtkinsBuildingCourthouse-11th Floor                          Date:9/27/2021 Time:1:30 p.m.
    Defendant: BILL KAPRI                        J#: 18149-104      case #: 19-CR-20273-M ARTINEZ
    AUsA: Bruce Brown                                        Attorney: Bradford cohen
    Violation: SUPERVISEDRELEASEVIOLATION
                             .
                                                                  Surr/ArrestDate:SUM M ONS             YOB:1997
    Proceeding: lnitialAppearance                                     CJA Appt:
    Bond/PTD Held;C'Yes RfNo
                         .
                                             Recommended Bond:                       ;


    Bond Setat:                                                       Co-signed by:

     Ul
     C' Surrenderand/ordonotobtainpassports/traveldocs                      Language: Englith
     n)
      '-' ReporttoPTSasdirected/or                    x'saweek/monthby Disposition:
          phone:             x'saweek/monthinperson                          nefendantadvisedofrihtsandchares
          Random urine testing by Pretrial
     Nr, services
          Treatm ent asdeem ed necessary                                     Defendantconsented to appearvia video

     Nr' Refrainfrom excessiveuseofplcohol .                                                                       .
     Nr participateinmentalbealthassessment&treatment                        USPOYamileesanchezpresent.
     Nr Maintainorseekfull-timeemployment/education                                                                    .
     Nr Nocontactwithvictims/witnesses,exceptthroughcounsel                  *STlP$25KFersopc/stzretyBopdwith
     Xr Nofirearms                                                           %becoDdiê'olltbutDefenduntremaînin
     Nr Nottoencumberproperty                                                the&CWdfDN@/PrOgq'm be'Sturrently
     Xr Maynotvisittransportationestablishments                              fn'for90days.           .
     Nr' cur
         Home
            few
               confinement/ElectronicMonit
                          pm to
                                          oringand/or
                                         am                                  pgw ady x gm a g given ..
                                                  ,   paid by

     nr Allowances:Medicalneeds,courtappearances,attorneyvisits,
          religious,employment                                                           (Releused)
     Nr Travelextendedto:                                                     yjmefromtodayto               excluded
     XV' Other;complyw/ullexistingconditlonsofsupervision                     fromSpeedyTrialClock
.   NEXT COURT APPEARANCE        Date:          Time:            Judge:                        Place:
    Report RE Counsel:
    PTD/Bond Hearing:
    Prelim/ArraignorRemoval:
    StatusConference RE:
    D.A.R, 14:33:32                                                   Tim e in Court:10 m ins
                                          s/Lauren F.Louis                                   MagistrateJudge
